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                                                                                        FILED
                                                                                   October 04, 2024
                           UNITED STATES DISTRICT COURT                          CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION                                            NM
                                                                              BY: ________________________________
                                                                                                      DEPUTY

 LOGAN PAUL,                                     §
                                                 §
                       Plaintiff,                §
                                                 §
 v.                                              §      CIVIL NO. SA-24-CV-00717-OLG
                                                 §
 STEPHEN FINDEISEN and COFFEE                    §
 BREAK PRODUCTIONS LLC,                          §
                                                 §
                       Defendants.               §

                                    SCHEDULING ORDER

      Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the following

Scheduling Order:

      1.       A report on alternative dispute resolution in compliance with Local Rule CV-88(a)
               shall be filed by Tuesday, December 3, 2024. REGARDLESS OF WHETHER
               THE PARTIES CONCLUDE THAT ADR IS APPROPRIATE OR NOT, THE
               PARTIES SHALL INCLUDE THE NAME, ADDRESS, AND TELEPHONE
               NUMBER OF A COURT-APPROVED MEDIATOR OR A MEDIATOR AGREED
               ON BY BOTH PARTIES IN THEIR ADR REPORT. A list of court-approved
               neutrals and alternative dispute resolution summary form may be obtained at
               https://www.txwd.uscourts.gov/programs-services/alternative-dispute- resolution/.
               If you do not have access to the internet, you may call the United States District
               Clerk’s office at (210) 472-6550 to obtain a copy.

      2.       The parties asserting claims for relief shall submit a written offer of settlement to
               opposing parties by Friday, January 3, 2025, and each opposing party shall
               respond, in writing, by Friday, January 10, 2025.

      3.       The parties shall file all motions to amend or supplement pleadings or to join
               additional parties by Wednesday, December 18, 2024.

      4.       All parties asserting claims for relief shall FILE their designation of testifying
               experts and SERVE on all parties, but not file, the materials required by Fed. R.
               Civ. P. 26(a)(2)(B) by Friday, January 3, 2025. Parties resisting claims for relief
               shall FILE their designation of testifying experts and SERVE on all parties, but not
               file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) by Monday, February 3,
               2025. All designations of rebuttal experts shall be FILED, and the materials
               required by Fed. R. Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent not
               already served, shall be SERVED, within fourteen (14) days of receipt of the report
               of the opposing expert.
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 5.       An objection to the reliability of an expert’s proposed testimony under Federal Rule
          of Evidence 702 shall be made by motion, specifically stating the basis for the
          objection and identifying the objectionable testimony, within fourteen (14) days of
          receipt of the written report of the expert’s proposed testimony, or within fourteen
          (14) days of the expert’s deposition, if a deposition is taken, whichever is later.

 6.       The parties shall complete all discovery on or before Friday, May 16, 2025.
          Counsel may by agreement continue discovery beyond the deadline, but there will
          be no intervention by the Court except in extraordinary circumstances, and no trial
          setting will be vacated because of information obtained in post-deadline discovery.

 7.       All dispositive motions shall be filed no later than Friday, June 6, 2025. The timing
          and page limitations for briefing on any motion shall be governed by the relevant
          provisions in Local Rule CV-7.

 8.       The parties shall mediate this case on or before Thursday, June 26, 2025, unless
          the parties seek an order from the Court excusing them from mediation.

 9.       This case is set for pretrial conference on Wednesday, October 8, 2025, at 10:30
          a.m. The parties should consult Local Rule CV-16(f) regarding matters to be
          filed in advance of the pretrial conference and/or trial.

10.       This case is set for jury selection and trial on Tuesday, October 14, 2025, at 9:30
          a.m.


 SIGNED this 4th day of October, 2024.



                                                ________________________________
                                                ORLANDO L. GARCIA
                                                UNITED STATES DISTRICT JUDGE




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